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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


ASETEK DANMARK A/S,
                                                       Civil Action No. 6:21-cv-00501
                      Plaintiff,

               v.
                                                       JURY TRIAL DEMAND
SHENZHEN APALTEK CO., LTD., A/K/A
SHENZHEN ANG PAI TECHNOLOGY CO.,
LTD. AND GUANGDONG APALTEK LIQUID
COOLING TECHNOLOGY CO., LTD., A/K/A
GUANGDONG ANG PAI LIQUID COOLING
TECHNOLOGY CO., LTD., OR DONGGUAN
APALCOOL

                      Defendants.



                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Asetek Danmark A/S (“Asetek”), files this Complaint for Patent Infringement

and Damages against Defendants Shenzhen Apaltek Co., Ltd., a/k/a Shenzhen Ang Pai

Technology Co., Ltd. (“Apaltek”) and Guangdong Apaltek Liquid Cooling Technology Co.,

Ltd., a/k/a Guangdong Ang Pai Liquid Cooling Technology Co., Ltd., or Dongguan Apalcool

(“Apalcool”) (collectively, “Defendants”), and would respectfully show the Court as follows:

                                   NATURE OF THE ACTION

       1. This Complaint seeks judgment that the Defendants have infringed and continue to

infringe Asetek’s U.S. Patent Nos. 8,240,362 (“the ’362 patent), 8,245,764 (“the ’764 patent),

10,078,355 (“the ’355 patent”), and 10,599,196 (“the ’196 patent”) (collectively “the Patents-in-

Suit”). Each of these patents relates to liquid cooling systems and methods for cooling heat

generating electronic components.



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                                             PARTIES

        2. Asetek is a corporation organized and existing under the laws of Denmark, and has a

location at Assensvej 2, DK-9220 Aalborg East, Denmark. Asetek is the owner of the Patents-in-

Suit.

        3. On information and belief, Apaltek is a Chinese corporation with its principal place of

business at B03/B04/B05, 15th Floor, Block 2, Yicheng Huanzhi Center, Intersection of Renmin

Road and Bayi Road, Jinglong Community, Longhua Street, Longhua District, Shenzhen,

Guangdong Province, PRC.

        4.    On information and belief, Apalcool is a Chinese corporation with its principal place

of business at No. 12, West Second Lane, Shenzhen Zai Road, Qingxi Town, Dongguan City,

Guangdong Province, PRC.

                                  JURISDICTION AND VENUE

        5. This is an action for patent infringement arising under the United States Patent Laws,

35 U.S.C. § 100 et seq. Subject matter jurisdiction is proper under 28 U.S.C. §§ 1331 and

1338(a).

        6. Upon information and belief, Defendants operate a website, www.apalcool.com, on

which they describe themselves under their “About Us” tab as having “more than 20 years of

experience in the design and production of liquid-cooled and air-cooled heat dissipation

products.” Defendants describe themselves under their “About Us” tab as providers of ODM

and OEM manufacturing services for the global heat dissipation industry. (“[W]e provide

ODM/OEM customers with superior products and excellent services. We hope to become a loyal

partner in the local and global heat dissipation industry, so that people anywhere in the world can

share happiness through our products and our customers.”)




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           7. The following products infringe at least one claim of each of the Patents-in-Suit as

explained in detail in Counts I-IV below: the Lian Li Galahad AIO 240 RGB, the Enermax

AquaFusion 240, and Thermaltake TH120 ARGB Sync (collectively the “Exemplary Infringing

Products”). On information and belief, the Lian Li Galahad AIO family of liquid cooling

products, the Enermax AquaFusion family of liquid cooling products, and the Thermaltake TH

ARGB Sync family of liquid cooling products infringe at least one claim of each of the Patents-

in-Suit.

           8. Upon information and belief, Defendants make, offer for sale, and sell the Galahad

AIO line of liquid cooling products to Lian Li, the AquaFusion line of liquid cooling products to

Enermax, and the TH120 ARGB Sync line of liquid cooling products Thermaltake, knowing and

intending that these customers and/or resellers (including www.amazon.com, www.newegg.com,

and www.walmart.com) will and do offer for sale and sell Exemplary Infringing Products to

customers throughout the United States. For example, the Galahad AIO line of liquid cooling

products, the AquaFusion line of liquid cooling products, and the TH120 ARGB Sync line of

liquid cooling products have been and are offered for sale and sold throughout the United States,

Texas, and this district on www.amazon.com, www.newegg.com, and www.walmart.com. On

information and belief, these products are purchased and used by customers in this district. This

Court has personal jurisdiction over Defendants for at least the reasons set forth in this paragraph

and the preceding paragraph.

           9. On information and belief, Defendants also likely offer for sale, sell, import, and/or

ship the infringing Enermax AquaFusion line of products to Enermax USA in the United States,

and the infringing Thermaltake TH ARGB Sync line of liquid cooling products to Thermaltake

in the United States.




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       10. Venue is proper in the District in accordance with 28 U.S.C. § 1391(c)(3) because

Defendants are foreign corporations not resident in the United States.

                                  FACTUAL BACKGROUND

       11. Asetek is a world leading provider of liquid cooling systems for heat-generating

electronic components, such as CPUs and GPUs. Asetek’s business is dedicated entirely to liquid

cooling, which makes up 100% of its revenue. Asetek’s solutions are used by leading original

equipment manufacturers (“OEM”) servicing the datacenter, server, gaming, workstation, and

high performance PC markets. Asetek is also the leading provider of liquid cooling products for

the enthusiast/do-it-yourself market, which includes end-users who buy and self-install liquid

cooling systems into their computers.

       12. Asetek’s patented combination of a pump, a dual chambered reservoir, and a cold

plate into a single pump unit—which is claimed in the Patents-in-Suit—provides the benefits of

improved pumping and heat removal efficiencies in a compact (narrow profile) design that

enables the pump unit to be installed directly on the CPU/GPU of a computer motherboard,

graphics card, or a server. In addition to improved efficiency and compactness, Asetek’s

patented designs have greatly reduced and/or eliminated the risk of coolant leakage and have

enabled pre-filled (factory assembled and sealed) liquid cooling products that are easy to install

and use. Asetek’s patented designs have also made manufacturing of liquid cooling products

simpler and less costly.

       13. The Exemplary Infringing Products have the same fundamental pump unit structure

and configuration; any differences between the products are irrelevant to the claims of the

Patents-in-Suit and to Defendants’ infringement of the same. Upon information and belief, the

same is true for the Galahad AIO line of liquid cooling products, the AquaFusion line of liquid

cooling products, and the TH120 ARGB Sync line of liquid cooling products. Accordingly,


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Counts I-IV below refer to the Lian Li Galahad AIO 240 as a representative product for all of the

Exemplary Infringing Products and their respective product lines.

                                   COUNT I
                     INFRINGEMENT OF U.S. PATENT NO. 8,240,362

       14. Asetek incorporates by reference paragraphs 1-10 as though fully set forth herein.

       15. Asetek owns the entire right, title, and interest in and to the ’362 patent. A true and

correct copy of the ’362 patent is attached hereto as Exhibit A.

       16. The Exemplary Infringing Products infringe at least claim 14 of the ’362 patent,

either literally and/or under the doctrine of equivalents.

       17. The Exemplary Infringing Products are cooling systems for processing units

positioned on a motherboard of a computer and comprise the claimed elements of at least claim

14 of the ’362 patent.




       18. The Exemplary Infringing Products include “a reservoir configured to be coupled to

the processing unit positioned on the motherboard at a first location, the reservoir being adapted

to pass a cooling liquid therethrough.” For example, as the image of the representative Lian Li



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Galahad product below shows, the Exemplary Infringing Products include a reservoir configured

to be coupled to a processing unit positioned on the motherboard at a first position and the

reservoir is adapted to pass cooling liquid therethrough.




       19. The reservoir of the Exemplary Infringing Products includes “an upper chamber and a

lower chamber, the upper chamber and lower chamber being separate chambers containing

cooling liquid that are separated by at least a horizontal wall and fluidly coupled together by one

or more passageways, at least one of the one or more passageways being a substantially circular

passageway positioned on the horizontal wall.” For example, as the image of the representative

Lian Li Galahad product below shows, the reservoir of the Exemplary Infringing Products

includes an upper chamber and a lower chamber separated by at least a horizontal wall and

fluidly coupled together by one or more passageways. Further, at least one of the passageways

on the horizontal wall is substantially circular and positioned on the horizontal wall.




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       20. The reservoir of the Exemplary Infringing Products includes “a heat exchanging

interface configured to be placed in separable thermal contact with the processing unit, the heat

exchanging interface being removably attached to the reservoir such that the heat exchanging

interface forms a boundary wall of the lower chamber and the reservoir.” For example, as the

image of the representative Lian Li Galahad product below shows, the reservoir of the

Exemplary Infringing Products includes a heat exchanging interface configured to be placed in

separable thermal contact with the processing unit and is removably attached (e.g., using screws,

fasteners, or brackets) to the reservoir such that the heat exchanging interface forms a boundary

wall of the lower chamber of the reservoir.




       21. The Exemplary Infringing Products include “a heat radiator configured to be

positioned at a second location horizontally spaced apart from the first location when the



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reservoir is coupled to the processing unit.” For example, as the image of the representative Lian

Li Galahad product below shows, the Exemplary Infringing Products include a heat radiator

configured to be positioned at a second location horizontally spaced apart from the first location

when the reservoir is coupled to the processing unit.




       22. The Exemplary Infringing Products further include “a fan adapted to direct air to the

heat radiator to dissipate heat from the cooling liquid to the surrounding atmosphere.” For

example, as the image of the representative Lian Li Galahad product below shows, the

Exemplary Infringing Products include a fan that is adapted to direct air to the heat radiator to

dissipate heat from the cooling liquid to the surrounding atmosphere.




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       23. The Exemplary Infringing Products further include “a pump configured to circulate

cooling liquid between the reservoir and the heat radiator, the pump including a motor having a

rotor, a stator, and an impeller having the equivalent (under the doctrine of equivalents) of

curved blades, the impeller being mechanically coupled to the rotor and at least partially

submerged in the cooling liquid of the reservoir, wherein a speed of the impeller is configured to

be varied independent of the speed of the fan.” For example, as the images of the representative

Lian Li Galahad product below show, the Exemplary Infringing Products include a pump

configured to circulate cooling liquid between the reservoir and the heat radiator, the pump

having a stator and a rotor. The pump also includes an impeller with curved blades. The impeller

is mechanically coupled to the rotor and is at least partially submerged in the cooling liquid in

the reservoir. Because separate motors drive the fan and the pump, a speed of the impeller is

configured to be varied independent of the speed of the fan.




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       24. Upon information and belief, Defendants have induced and continue to actively

induce direct infringement of at least claim 14 of the ’362 patent by others (including Lian Li,

Thermaltake, Enermax, Amazon, Newegg, Walmart, and/or end-users) in the United States and

in this district under 35 U.S.C. § 271(b). Defendants knew of the ’362 patent prior to the filing of

this action, and upon information and belief, Defendants have taken affirmative steps that have

encouraged, aided and abetted (and continue to encourage, aid and abet) direct infringement by

their customers and others (such as Lian Li, Thermaltake, Enermax, Amazon, Newegg, Walmart,

and/or end-users) in the United States and in this district, and Defendants have known that their

induced acts constitute infringement of the ’362 patent or have been willfully blind to the

infringement. On information and belief, these acts include, but are not limited to (1)

Defendants’ manufacture and supply of the Exemplary Infringing Products and their respective

product lines to at least Lian Li, Thermaltake, and/or Enermax, knowing and intending that they

would cause the Exemplary Infringing Products and their respective product lines to be offered

for sale, sold, imported, and/or shipped to the United States, and used in the United States, and

(2) Defendants’ supply of user manuals/guides/product descriptions instructing customers/end

users how to install and use the Exemplary Infringing Products and their respective product lines.

       25. Upon information and belief, Defendants have contributed to and continue to

contribute to the direct infringement of at least claim 14 of the ’362 patent by others (including

Lian Li, Thermaltake, Enermax, Amazon, Newegg, Walmart, and/or end-users) in the United

States and in this district under 35 U.S.C. § 271(c). Upon information and belief, Defendants,

with knowledge of the patent, supply important (material) components of the Exemplary

Infringing Products and their respective product lines (as well as instructions for the same) to

others, including Lian Li, Thermaltake, and/or Enermax. Upon information and belief,




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Defendants knew or were willfully blind that the combination for which their components were

especially made was both patented and infringing, that the Exemplary Infringing Products and

their respective product lines are not a staple article or commodity of commerce, and have no

substantial non-infringing uses.

       26. Upon information and belief, Defendants likely have also directly infringed one or

more claims of the ’362 patent under 35 U.S.C. §§ 271(a) by, among other things, offering for

sale, selling, importing and/or distributing the Exemplary Infringing Products and their

respective product lines in and into the United States.

       27. Upon information and belief, Defendants have infringed the ’362 patent in an

egregious and willful manner and with knowledge of the ’362 patent, or were willfully blind to

the risk of infringement.

       28. Defendants’ infringement of the ’362 patent has caused and continues to cause

damages and irreparable harm to Asetek.

                                   COUNT II
                     INFRINGEMENT OF U.S. PATENT NO. 8,245,764

       29. Asetek incorporates by reference paragraphs 1-10 as though fully set forth herein.

       30. Asetek owns the entire right, title, and interest in and to the ’764 patent. A true and

correct copy of the ’764 patent is attached hereto as Exhibit B.

       31. The Exemplary Infringing Products infringe at least claim 1 of the ’764 patent, either

literally and/or under the doctrine of equivalents.

       32. The Exemplary Infringing Products are cooling systems for heat-generating

components comprising the claimed elements of at least claim 1 of the ’764 patent.




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       33. The Exemplary Infringing Products include “a double-sided chassis to mount a pump

configured to circulate a cooling liquid, the pump comprising a stator and an impeller, the

impeller being positioned on the underside of the chassis and the stator being positioned on the

upper side of the chassis and isolated from the cooling liquid.” For example, as the images of the

representative Lian Li Galahad product below show, the Exemplary Infringing Products include

a double-sided chassis mounted with a pump that has a stator and an impeller, with the impeller

positioned on the underside of the chassis and the stator positioned on the upper side of the

chassis and isolated from the cooling liquid.




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       34. The Exemplary Infringing Products further include “a reservoir adapted to pass the

cooling liquid therethrough.” For example, as the image of the representative Lian Li Galahad

product below shows, the Exemplary Infringing Products include a reservoir adapted to pass

cooling liquid through it.




       35. The reservoir of the Exemplary Infringing Products includes “a pump chamber

including the impeller and formed below the chassis, the pump chamber being defined by at least

an impeller cover having one or more passages for the cooling liquid to pass through.” For

example, as the images of the representative Lian Li Galahad product below show, the reservoir

of the Exemplary Infringing Products includes a pump chamber formed below the chassis and

housing the pump impeller, the pump chamber comprising at least an impeller cover with one or

more passages.




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       36. The Exemplary Infringing Products include a reservoir that further includes “a

thermal exchange chamber formed below the pump chamber and vertically spaced apart from the

pump chamber, the pump chamber and the thermal exchange chamber being separate chambers

that are fluidly coupled together by one or more passages.” For example, as the images of the

representative Lian Li Galahad product below show, the reservoir of the Exemplary Infringing

Products includes a thermal exchange chamber that is vertically spaced apart from the pump

chamber, with the thermal exchange chamber formed below the pump chamber. Both the pump

chamber and thermal exchange chamber are separate chambers that are fluidly coupled together

by one or more passages.




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       37. The thermal exchange chamber of the reservoir of the Exemplary Infringing Products

further includes “a heat-exchanging interface, the heat exchanging interface forming a boundary

wall of the thermal exchange chamber, and configured to be placed in thermal contact with a

surface of the heat-generating component.” For example, as the image of the representative Lian

Li Galahad product below shows, the Exemplary Infringing Products include a heat-exchanging

interface that forms a boundary wall of the thermal exchange chamber and is configured with

one side to be placed in thermal contact with a surface of the heat-generating component.




       38. The Exemplary Infringing Products include a “heat radiator fluidly coupled to the

reservoir and configured to dissipate heat from the cooling liquid.” For example, as the image of

the representative Lian Li Galahad product below shows, the Exemplary Infringing Products

include a heat radiator fluidly coupled to the reservoir and configured to dissipate heat from the

cooling liquid.




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       39. Upon information and belief, Defendants have induced and continue to actively

induce direct infringement of at least claim 1 of the ’764 patent by others (including Lian Li,

Thermaltake, Enermax, Amazon, Newegg, Walmart, and/or end-users) in the United States and

in this district under 35 U.S.C. § 271(b). Defendants knew of the ’764 patent prior to the filing of

this action, and upon information and belief, Defendants have taken affirmative steps that have

encouraged, aided and abetted (and continue to encourage, aid and abet) direct infringement by

their customers and others (such as Lian Li, Thermaltake, Enermax, Amazon, Newegg, Walmart,

and/or end-users) in the United States and in this district, and Defendants have known that their

induced acts constitute infringement of the ’764 patent or have been willfully blind to the

infringement. On information and belief, these acts include, but are not limited to (1)

Defendants’ manufacture and supply of the Exemplary Infringing Products and their respective

product lines to at least Lian Li, Thermaltake, and/or Enermax, knowing and intending that they

would cause the Exemplary Infringing Products and their respective product lines to be offered

for sale, sold, imported, and/or shipped to the United States, and used in the United States, and

(2) Defendants’ supply of user manuals/guides/product descriptions instructing customers/end

users how to install and use the Exemplary Infringing Products and their respective product lines.




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       40. Upon information and belief, Defendants have contributed to and continue to

contribute to the direct infringement of at least claim 1 of the ’764 patent by others (including

Lian Li, Thermaltake, Enermax, Amazon, Newegg, Walmart, and/or end-users) in the United

States and in this district under 35 U.S.C. § 271(c). Upon information and belief, Defendants,

with knowledge of the patent, supply important (material) components of the Exemplary

Infringing Products and their respective product lines (as well as instructions for the same) to

others, including Lian Li, Thermaltake, and/or Enermax. Upon information and belief,

Defendants knew or were willfully blind that the combination for which their components were

especially made was both patented and infringing, that the Exemplary Infringing Products and

their respective product lines are not a staple article or commodity of commerce, and have no

substantial non-infringing uses.

       41. Upon information and belief, Defendants likely have also directly infringed one or

more claims of the ’764 patent under 35 U.S.C. §§ 271(a) by, among other things, offering for

sale, selling, importing and/or distributing the Exemplary Infringing Products and their

respective product lines in and into the United States.

       42. Upon information and belief, Defendants have infringed the ’764 patent in an

egregious and willful manner and with knowledge of the ’764 patent, or were willfully blind to

the risk of infringement.

       43. Defendants’ infringement of the ’764 patent has caused and continues to cause

damages and irreparable harm to Asetek.

                                   COUNT III
                     INFRINGEMENT OF U.S. PATENT NO. 10,078,355

       44. Asetek incorporates by reference paragraphs 1-10 as though fully set forth herein.




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       45. Asetek owns the entire right, title, and interest in and to the ’355 patent. A true and

correct copy of the ’355 patent is attached hereto as Exhibit C.

       46. The Exemplary Infringing Products infringe at least claim 1 of the ’355 patent, either

literally and/or under the doctrine of equivalents.

       47. The Exemplary Infringing Products are liquid cooling systems for cooling a heat-

generating component of a computer comprising the claimed elements of at least claim 1 of the

’355 patent.




       48. The Exemplary Infringing Products include “a reservoir configured to circulate a

cooling liquid therethrough.” For example, as the image of the representative Lian Li Galahad

product below shows, the Exemplary Infringing Products include a reservoir, which is

configured to be coupled to a processing unit positioned on the motherboard of a computer and

the reservoir is adapted to pass cooling liquid therethrough.




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       49. The reservoir of the Exemplary Infringing Products includes “a pump chamber

housing an impeller and defined at least in part by an impeller cover and a double-sided chassis,

the impeller being positioned on one side of the chassis and a stator of the pump is positioned on

an opposite side of the chassis.” For example, as the image of the representative Lian Li Galahad

product below shows, the reservoir of the Exemplary Infringing Products includes a pump

chamber housing an impeller and defined in part by an impeller cover and a double-sided

chassis, and the impeller is positioned on one side of the chassis and a stator of the pump is on

the opposite side of the chassis.




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       50. The reservoir of the Exemplary Infringing Products includes “a thermal exchange

chamber disposed between the pump chamber and the heat-generating component when the

system is installed on the heat-generating component.” For example, as the image of the

representative Lian Li Galahad product below shows, the reservoir of the Exemplary Infringing

Products includes a thermal exchange chamber positioned between the pump chamber and the

heat generating component when the system is installed on the heat-generating component.




       51. The reservoir of the Exemplary Infringing Products includes “a heat-exchanging

interface forming a boundary wall of the thermal exchange chamber, the heat-exchanging

interface has an outer surface configured to be placed in thermal contact with a surface of the

heat-generating component and an inner surface that defines a plurality of channels that direct

the flow of a cooling liquid within the thermal exchange chamber.” For example, as the image of

the representative Lian Li Galahad product below shows, the reservoir of the Exemplary

Infringing Products has a heat-exchanging interface forming a boundary wall of the thermal

exchange chamber and has an outer surface configured to be placed in thermal contact with a

surface of the heat-generating component and an inner surface that defines a plurality of channels

that direct the flow of a cooling liquid within the thermal exchange chamber.




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       52. The Exemplary Infringing Products include “a heat radiator adapted to pass the

cooling liquid therethrough, the heat radiator being fluidly coupled to the reservoir via fluid

conduits, the heat radiator being configured to dissipate heat from the cooling liquid.” For

example, as the image of the representative Lian Li Galahad product below shows, the

Exemplary Infringing Products include a radiator spaced apart from and fluidly coupled to the

reservoir.




       53. The pump chamber of the Exemplary Infringing Products includes “an inlet defined

by the impeller cover positioned below a center of the impeller configured to enable the cooling

liquid to flow into the center of the pump chamber.” For example, as the image of the

representative Lian Li Galahad product below shows, the pump chamber of the Exemplary




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Infringing Products has an inlet defined by the impeller cover positioned below a center of the

impeller configured to enable the cooling liquid to flow into the center of the pump chamber.




       54. The pump chamber of the Exemplary Infringing Products includes “an outlet defined

by the impeller cover positioned tangentially to the circumference of the impeller.” For example,

as the image of the representative Lian Li Galahad product below shows, the pump chamber of

the Exemplary Infringing Products has an outlet defined by the impeller cover positioned

tangentially to the circumference of the impeller.




       55. Upon information and belief, Defendants have induced and continue to actively

induce direct infringement of at least claim 1 of the ’355 patent by others (including Lian Li,

Thermaltake, Enermax, Amazon, Newegg, Walmart, and/or end-users) in the United States and

in this district under 35 U.S.C. § 271(b). Defendants knew of the ’355 patent prior to the filing of


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this action, and upon information and belief, Defendants have taken affirmative steps that have

encouraged, aided and abetted (and continue to encourage, aid and abet) direct infringement by

their customers and others (such as Lian Li, Thermaltake, Enermax, Amazon, Newegg, Walmart,

and/or end-users) in the United States and in this district, and Defendants have known that their

induced acts constitute infringement of the ’355 patent or have been willfully blind to the

infringement. On information and belief, these acts include, but are not limited to (1)

Defendants’ manufacture and supply of the Exemplary Infringing Products and their respective

product lines to at least Lian Li, Thermaltake, and/or Enermax, knowing and intending that they

would cause the Exemplary Infringing Products and their respective product lines to be offered

for sale, sold, imported, and/or shipped to the United States, and used in the United States, and

(2) Defendants’ supply of user manuals/guides/product descriptions instructing customers/end

users how to install and use the Exemplary Infringing Products and their respective product lines.

       56. Upon information and belief, Defendants have contributed to and continue to

contribute to the direct infringement of at least claim 1 of the ’355 patent by others (including

Lian Li, Thermaltake, Enermax, Amazon, Newegg, Walmart, and/or end-users) in the United

States and in this district under 35 U.S.C. § 271(c). Upon information and belief, Defendants,

with knowledge of the patent, supply important (material) components of the Exemplary

Infringing Products and their respective product lines (as well as instructions for the same) to

others, including Lian Li, Thermaltake, and/or Enermax. Upon information and belief,

Defendants knew or were willfully blind that the combination for which their components were

especially made was both patented and infringing, that the Exemplary Infringing Products and

their respective product lines are not a staple article or commodity of commerce, and have no

substantial non-infringing uses.




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       57. Upon information and belief, Defendants likely have also directly infringed one or

more claims of the ’355 patent under 35 U.S.C. § 271(a) by, among other things, offering for

sale, selling, importing and/or distributing the Exemplary Infringing Products and their

respective product lines in and into the United States.

       58. Upon information and belief, Defendants have infringed the ’355 patent in an

egregious and willful manner and with knowledge of the ’355 patent, or were willfully blind to

the risk of infringement.

       59. Defendants’ infringement of the ’355 patent has caused and continues to cause

damages and irreparable harm to Asetek.

                                   COUNT IV
                     INFRINGEMENT OF U.S. PATENT NO. 10,599,196

       60. Asetek incorporates by reference paragraphs 1-10 as though fully set forth herein.

       61. Asetek owns the entire right, title, and interest in and to the ’196 patent. A true and

correct copy of the ’196 patent is attached hereto as Exhibit D.

       62. The Exemplary Infringing Products infringe at least claim 10 of the ’196 patent,

either literally and/or under the doctrine of equivalents.

       63. The Exemplary Infringing Products are cooling systems for cooling heat-generating

components comprising the claimed elements of at least claim 10 of the ’196 patent.




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       64. The Exemplary Infringing Products include “a reservoir configured to circulate a

cooling liquid therethrough.” For example, as the image of the representative Lian Li Galahad

product below show, the Exemplary Infringing Products include a reservoir through which

cooling liquid circulates.




       65. The reservoir of the Exemplary Infringing Products includes “a pump chamber

housing an impeller and defined at least in part by an impeller cover and a double-sided chassis,

the impeller being positioned on one side of the chassis and a stator of the pump is positioned on

an opposite side of the chassis.” For example, as the image of the representative Lian Li Galahad

product below shows, the reservoir of the Exemplary Infringing Products include a pump

chamber that houses a pump impeller on the underside of the double-sided chassis, the pump


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chamber being defined by at least an impeller cover and the chassis. A stator of the pump is

positioned on the upper side of the chassis. The pump chamber further includes “an inlet defined

by the impeller cover positioned below a center of the impeller configured to enable a cooling

liquid to flow into the center of the pump chamber,” and “an outlet defined by the impeller cover

positioned tangentially to the circumference of the impeller.”




       66. The Exemplary Infringing Products include a reservoir that further includes “a

thermal exchange chamber configured to be disposed between the pump chamber and a heat-

generating component when the system is installed on a heat-generating component.” For

example, as the image of the representative Lian Li Galahad product below shows, the reservoir

of the Exemplary Infringing Products includes a thermal exchange chamber disposed between

the pump chamber and a heat-generating component when the system is installed.




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       67. The thermal exchange chamber of the reservoir of the Exemplary Infringing Products

further includes “a heat-exchanging interface forming a boundary wall of the thermal exchange

chamber, the heat-exchanging interface has an outer surface configured to be placed in thermal

contact with a surface of a heat-generating component and an inner surface that defines a

plurality of channels that are configured to direct the flow of the cooling liquid within the

thermal exchange chamber.” For example, as the image of the representative Lian Li Galahad

product below shows, the Exemplary Infringing Products include a heat-exchanging interface

that forms a boundary wall of the thermal exchange chamber and is configured with one side to

be placed in thermal contact with a surface of the heat-generating component. The inner surface

of the heat-exchanging interface defines a plurality of channels that direct the flow of the cooling

liquid within the thermal exchange chamber.




       68. The Exemplary Infringing Products include a “a heat radiator adapted to pass the

cooling liquid therethrough, the heat radiator being fluidly coupled to the reservoir via fluid

conduits, the heat radiator being configured to dissipate heat from the cooling liquid.” For

example, as the image of the representative Lian Li Galahad product below shows, the

Exemplary Infringing Products include a heat radiator fluidly coupled to the reservoir and

configured to dissipate heat from the cooling liquid.


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       69. The Exemplary Infringing Products include “a set of four mounting legs configured to

secure the heat-exchanging interface to a heat-generating component of a computer.” For

example, as the image of the representative Lian Li Galahad product below shows, the

Exemplary Infringing Products include a set of four mounting legs configured to secure the heat-

exchanging interface to a heat-generating component of a computer.




       70. Upon information and belief, Defendants have induced and continue to actively

induce direct infringement of at least claim 10 of the ’196 patent by others (including Lian Li,

Thermaltake, Enermax, Amazon, Newegg, Walmart, and/or end-users) in the United States and



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in this district under 35 U.S.C. § 271(b). Defendants knew of the ’196 patent prior to the filing of

this action, and upon information and belief, Defendants have taken affirmative steps that have

encouraged, aided and abetted (and continue to encourage, aid and abet) direct infringement by

their customers and others (such as Lian Li, Thermaltake, Enermax, Amazon, and/or end-users)

in the United States and in this district, and Defendants have known that their induced acts

constitute infringement of the ’196 patent or have been willfully blind to the infringement. On

information and belief, these acts include, but are not limited to (1) Defendants’ manufacture and

supply of the Exemplary Infringing Products and their respective product lines to at least Lian Li,

Thermaltake, and/or Enermax, knowing and intending that they would cause the Exemplary

Infringing Products and their respective product lines to be offered for sale, sold, imported,

and/or shipped to the United States, and used in the United States, and (2) Defendants’ supply of

user manuals/guides/product descriptions instructing customers/end users how to install and use

the Exemplary Infringing Products and their respective product lines.

       71. Upon information and belief, Defendants have contributed to and continue to

contribute to the direct infringement of at least claim 10 of the ’196 patent by others (including

Lian Li, Thermaltake, Enermax, Amazon, Newegg, Walmart, and/or end-users) in the United

States and in this district under 35 U.S.C. § 271(c). Upon information and belief, Defendants,

with knowledge of the patent, supply important (material) components of the Exemplary

Infringing Products and their respective product lines (as well as instructions for the same) to

others, including Lian Li, Thermaltake, and/or Enermax. Upon information and belief,

Defendants knew or were willfully blind that the combination for which their components were

especially made was both patented and infringing, that the Exemplary Infringing Products and




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their respective product lines are not a staple article or commodity of commerce, and have no

substantial non-infringing uses.

       72. Upon information and belief, Defendants likely have also directly infringed one or

more claims of the ’196 patent under 35 U.S.C. §§ 271(a) by, among other things, offering for

sale, selling, importing and/or distributing the Exemplary Infringing Products and their

respective product lines in and into the United States.

       73. Upon information and belief, Defendants have infringed the ’196 patent in an

egregious and willful manner and with knowledge of the ’196 patent, or were willfully blind to

the risk of infringement.

       74. Defendants’ infringement of the ’196 patent has caused and continues to cause

damages and irreparable harm to Asetek.

                                     PRAYER FOR RELIEF

       WHERFORE, Asetek respectfully prays that the Court enter judgment in its favor and

award the following relief against Defendants:

A.     A judgment in favor of Asetek that the Defendants, individually and collectively, have

infringed (directly, contributorily, and by inducement) the Patents-in-Suit;

B.     A judgment in favor of Asetek that the Defendants’ infringement of the Patents-in-Suit

has been willful;

C.     Preliminarily and permanently enjoin the Defendants, and each and all of their officers,

directors, employees, agents, licensees, representatives, affiliates, related companies, servants,

successors and assigns, and any and all persons acting in privity or in concert with any of them,

from further infringing upon the Patents-in-Suit;

D.     Award Asetek actual damages pursuant to 35 U.S.C. § 284, in an amount to be

determined at trial, as a result of the Defendants’ infringement of the Patents-in-Suit;


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E.     Award Asetek pre- and post-judgment interest on all damages awarded, as well as

supplemental damages;

F.     Order that damages for infringement of the Patents-in-Suit be trebled as provided for by

35 U.S.C. § 284 for the Defendants’ willful infringement of the Patents-in-Suit;

G.     Find this to be an exceptional case and award Asetek its costs and attorney’s fees under

35 U.S.C. § 285; and

H.     Award and grant Asetek such other and further relief as the Court deems just and proper

under the circumstances.

                                   JURY TRIAL DEMAND

       Asetek demands a jury trial on all matters triable to a jury.




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Dated: May 14, 2021                  Respectfully submitted,


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